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UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE MARK A. BARNETT, CHIEF JUDGE

FAR EAST AMERICAN, INC., et ai.,

Plaintiffs. Court No. 22-00213

UNITED STATES,

Defendant.

AMERICAN PACIFIC PLYWOOD, INC.,

Plaintiff, : Court No. 22-00214

UNITED STATES,

Defendant.

ORDER

Upon consideration of defendant’s motion to consolidate cases, it is hereby

ORDERED that defendant’s motion is granted; and it is further

ORDERED that Far East American, Inc., et al. v. United States, Court No. 22-00213,
and American Pacific Plywood, Inc. v. United States, Court No. 22-00214, are consolidated
under Far East American, Inc., et al. v. United States, Court No. 22-00213: and it is further

ORDERED that the administrative record to be filed in Court No. 22-00213 will serve as
the administrative record for the consolidated action, and that the record need not be filed

separately in the other cases.

/s/ Mark A. Barnett
Dated: August9 2022 CHIEF JUDGE

